MARIE J. J. FLEITMANN AND THOMAS CRIMMINS, EXECUTORS OF THE ESTATE OF HERMAN C. FLEITMANN, DECEASED, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Fleitmann v. CommissionerDocket No. 28451.United States Board of Tax Appeals22 B.T.A. 1234; 1931 BTA LEXIS 1985; April 20, 1931, Promulgated *1985  Waivers executed by the decedent, to which the Commissioner's name was affixed by employees at the direction of persons authorized by the Commissioner to sign his name, are valid and extend the statutory period.  Richard E. Dwight, Esq., F. S. Winston, Esq., W. N. Wood, Esq., and Howe P. Cochran, Esq., for the petitioners.  Bruce A. Low, Esq., and L. H. Rushbrook, Esq., for the respondent.  ARUNDELL*1234  The respondent determined deficiencies for calendar years and in the amounts as follows: Year:Amount1919$14,590.77192026,959.0119217,200.20Total48,749.98Upon motion of counsel for petitioners the hearing in the first instance was limited to the question of whether assessment and collection of the deficiencies are barred by the statute of limitations.  FINDINGS OF FACT.  The returns of petitioners' decedent, Herman C. Fleitmann, for the calendar years 1919, 1920, and 1921 were filed, respectively, on March 15, 1920, March 15, 1921, and March 15, 1922.  On December 24, 1924, Fleitmann executed a waiver extending the time for assessment and collection of 1919 taxes "for a period of one year after*1986  the expiration of the statutory period." Commissioner Blair's name was placed on this waiver on February 8, 1926, by Albert Lewis who was then head of the Personal Audit Division of the income tax unit and who had been authorized by Blair to sign waivers.  On January 22, 1926, respondent wrote to Fleitmann in regard to 1918 and 1919 returns and asked that he execute the waiver forms that were enclosed with the letter.  On February 12, 1926, respondent sent a telegram to Fleitmann's attorney asking that the waivers requested in the letter of January 22, 1926, be submitted.  On February *1235  13, 1926, respondent wrote to Fleitmann asking for waivers for the years 1919 to 1921 and enclosed waiver forms with the letter.  Fleitmann executed three separate waivers, all dated February 17, 1926, one for each of the years 1919, 1920, and 1921, each extending the statutory period for assessment to December 31, 1926, and providing for the additional time allowed by statute in the event of the sending of a deficiency notice before that date.  Commissioner Blair's name was placed on each of these waivers by the secretary to H. B. Robinson, at Robinson's direction.  Robinson was head of*1987  the audit review division in the income tax unit, and held a written authorization to sign Blair's name to waivers.  On November 5, 1926, respondent wrote Fleitmann requesting that he execute and return the waiver forms enclosed with the letter extending the limitation period for the years 1918 to 1921, inclusive.  On November 8, 1926, Fleitmann executed a waiver extending the time for assessment for the years 1918 to 1921, inclusive, to December 31, 1927, and also providing for the additional time allowed by statute in the event of the sending of a deficiency notice before that date.  Commissioner Blair's name was affixed to this waiver by the secretary to H. B. Robinson at Robinson's direction.  The deficiency notice was mailed to Fleitmann on March 14, 1927.  OPINION.  ARUNDELL: The effect of the first waiver, dated December 24, 1924, need not be decided as in our opinion those subsequently given are sufficient to extend the statutory period beyond the date of the deficiency notice.  , footnote 4.  The waivers dated February 17, 1926, extended the statutory period to December 31, 1926, and before that date, *1988  namely on November 8, 1926, a further waiver was given extending the time to December 31, 1927.  Before the latter date the deficiency notice was mailed.  The arguments against the validity of the waivers of February 17, 1926, and November 8, 1926, are disposed of in our opinion in , decided this day.  In our opinion the waivers were effective to extend the time, the deficiency notice was timely sent, and assessment and collection are not barred.  This proceeding will be restored to the general calendar for hearing on the merits in due course.